              Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 1 of 44




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   United States Attorney
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 3 Chief, Criminal Division

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             Fax: (510) 637-3724
 8           Email: adam.reeves@usdoj.gov

 9 Attorneys for United States of America

10                                  UNITED STATES DISTRICT COURT

11                                NORTHERN DISTRICT OF CALIFORNIA

12                                      SAN FRANCISCO DIVISION

13   UNITED STATES OF AMERICA,                      ) Case No. 18-CR-577 CRB
                                                    )
14           Plaintiff,                             ) [PROPOSED] ORDER
                                                    ) AUTHORIZING RULE 17 SUBPOENAS
15      v.                                          )
                                                    )
16   MICHAEL RICHARD LYNCH and                      )
     STEPHEN KEITH CHAMBERLAIN,                     )
17                                                  )
             Defendants.                            )
18                                                  )

19

20           FOR GOOD CAUSE SHOWN, after a hearing on this matter conducted on June 3, 2022, the
21 Court hereby GRANTS the United States’ Motion for Rule 17 Subpoenas dated November 15, 2021

22 (Document 91), and ORDERS the issuance of Rule 17 subpoenas to the following seven (7) persons:

23 (1) Corrado Broli; (2) Nicole Eagan; (3) Lisa Harris; (4) Peter Menell; (5) Poppy Prentiss (aka Poppy

24 Gustafsson); (6) Rob Sass; and (7) Gary Szukalski; the seven subpoenas shall use the form in Exhibits A

25 through G attached hereto; and the subpoenas shall each have a return date of October 5, 2022.

26 //

27 //

28 //

     [PROPOSED] ORDER
     Case No. 18-CR-577 CRB                             1
             Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 2 of 44




 1          IT IS SO ORDERED.

 2

 3 DATED:
                                         _____________________________________
 4                                       THE HONORABLE CHARLES R. BREYER
 5                                       United States District Judge

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     [PROPOSED] ORDER
     Case No. 18-CR-577 CRB                    2
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 3 of 44




                Exhibit A
                     Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 4 of 44
               (Rev. 8/12) Subpoena to Testify in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                            SUBPOENA TO PRODUCE
UNITED STATES OF AMERICA,                                                   DOCUMENTS OR OBJECTS
                                                                            IN A CRIMINAL CASE
                                       Plaintiff,
                                                                     Case No.:
         v.
  MICHAEL RICHARD LYNCH and
  STEPHEN KEITH CHAMBERLAIN.

                                       Defendant(s).

TO:


YOU ARE COMMANDED to appear at the place, date, and time specified below, or any subsequent date and time set
by the court, to testify in the above-referenced case. This subpoena shall remain in effect until you are granted leave to
depart by the court or by an officer acting on behalf of the court.
 PLACE                                                                                                  COURTROOM/JUDGE
      United States Courthouse                United States Courthouse       United States Courthouse
      450 Golden Gate Avenue                  280 South First Street         1301 Clay Street           DATE AND TIME
      San Francisco, CA 94102                 San Jose, CA 95113             Oakland, CA 94612

      You are also commanded to bring with you the following document(s) or object(s):
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Indictment in United States v. Lynch and Chamberlain, Case No. 18-CR-577 CRB, including all such documents that
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 U.S. MAGISTRATE JUDGE OR CLERK OF COURT                             DATE



 (By) Deputy Clerk


 ATTORNEY’S NAME, ADDRESS AND PHONE NUMBER:
                     Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 5 of 44




CAND 89A (Rev. 8/12) Subpoena to Testify in a Criminal Case


 PROOF OF SERVICE
                     DATE                                          PLACE
 R EC E IV E D
 B Y SE R V ER

                     DATE                                          PLACE
 SE R V E D

 SERVED ON (PRINT NAME)                                             FEES AND MILEAGE TENDERED TO WITNESS

                                                                      YES     NO AMOUNT $

 SERVED BY (PRINT NAME)                                            TITLE




                                                         DECLARATION OF SERVER

 I declare under penalty of perjury under the laws of the United States of America that the foregoing information
 contained in the Proof of Service is true and correct.

 Executed on
                                        DATE                           SIGNATURE OF SERVER

                                                                      ADDRESS:



ADDITIONAL INFORMATION
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 6 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 7 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 8 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 9 of 44




                Exhibit B
                     Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 10 of 44
               (Rev. 8/12) Subpoena to Testify in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                            SUBPOENA TO PRODUCE
UNITED STATES OF AMERICA,                                                   DOCUMENTS OR OBJECTS
                                                                            IN A CRIMINAL CASE
                                       Plaintiff,
                                                                     Case No.:
         v.
  MICHAEL RICHARD LYNCH and
  STEPHEN KEITH CHAMBERLAIN.

                                       Defendant(s).

TO:


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depart by the court or by an officer acting on behalf of the court.
 PLACE                                                                                                  COURTROOM/JUDGE
      United States Courthouse                United States Courthouse       United States Courthouse
      450 Golden Gate Avenue                  280 South First Street         1301 Clay Street           DATE AND TIME
      San Francisco, CA 94102                 San Jose, CA 95113             Oakland, CA 94612

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Indictment in United States v. Lynch and Chamberlain, Case No. 18-CR-577 CRB, including all such documents that
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 cand.uscourts.gov.
 U.S. MAGISTRATE JUDGE OR CLERK OF COURT                             DATE



 (By) Deputy Clerk


 ATTORNEY’S NAME, ADDRESS AND PHONE NUMBER:
                    Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 11 of 44




CAND 89A (Rev. 8/12) Subpoena to Testify in a Criminal Case


 PROOF OF SERVICE
                     DATE                                          PLACE
 R EC E IV E D
 B Y SE R V ER

                     DATE                                          PLACE
 SE R V E D

 SERVED ON (PRINT NAME)                                             FEES AND MILEAGE TENDERED TO WITNESS

                                                                      YES     NO AMOUNT $

 SERVED BY (PRINT NAME)                                            TITLE




                                                         DECLARATION OF SERVER

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 Executed on
                                        DATE                           SIGNATURE OF SERVER

                                                                      ADDRESS:



ADDITIONAL INFORMATION
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 12 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 13 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 14 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 15 of 44




                Exhibit C
                     Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 16 of 44
               (Rev. 8/12) Subpoena to Testify in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                            SUBPOENA TO PRODUCE
UNITED STATES OF AMERICA,                                                   DOCUMENTS OR OBJECTS
                                                                            IN A CRIMINAL CASE
                                       Plaintiff,
                                                                     Case No.:
         v.
  MICHAEL RICHARD LYNCH and
  STEPHEN KEITH CHAMBERLAIN.

                                       Defendant(s).

TO:


YOU ARE COMMANDED to appear at the place, date, and time specified below, or any subsequent date and time set
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depart by the court or by an officer acting on behalf of the court.
 PLACE                                                                                                  COURTROOM/JUDGE
      United States Courthouse                United States Courthouse       United States Courthouse
      450 Golden Gate Avenue                  280 South First Street         1301 Clay Street           DATE AND TIME
      San Francisco, CA 94102                 San Jose, CA 95113             Oakland, CA 94612

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Indictment in United States v. Lynch and Chamberlain, Case No. 18-CR-577 CRB, including all such documents that
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 U.S. MAGISTRATE JUDGE OR CLERK OF COURT                             DATE



 (By) Deputy Clerk


 ATTORNEY’S NAME, ADDRESS AND PHONE NUMBER:
                    Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 17 of 44




CAND 89A (Rev. 8/12) Subpoena to Testify in a Criminal Case


 PROOF OF SERVICE
                     DATE                                          PLACE
 R EC E IV E D
 B Y SE R V ER

                     DATE                                          PLACE
 SE R V E D

 SERVED ON (PRINT NAME)                                             FEES AND MILEAGE TENDERED TO WITNESS

                                                                      YES     NO AMOUNT $

 SERVED BY (PRINT NAME)                                            TITLE




                                                         DECLARATION OF SERVER

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 contained in the Proof of Service is true and correct.

 Executed on
                                        DATE                           SIGNATURE OF SERVER

                                                                      ADDRESS:



ADDITIONAL INFORMATION
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 18 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 19 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 20 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 21 of 44




                Exhibit D
                     Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 22 of 44
               (Rev. 8/12) Subpoena to Testify in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                            SUBPOENA TO PRODUCE
UNITED STATES OF AMERICA,                                                   DOCUMENTS OR OBJECTS
                                                                            IN A CRIMINAL CASE
                                       Plaintiff,
                                                                     Case No.:
         v.
  MICHAEL RICHARD LYNCH and
  STEPHEN KEITH CHAMBERLAIN.

                                       Defendant(s).

TO:


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depart by the court or by an officer acting on behalf of the court.
 PLACE                                                                                                  COURTROOM/JUDGE
      United States Courthouse                United States Courthouse       United States Courthouse
      450 Golden Gate Avenue                  280 South First Street         1301 Clay Street           DATE AND TIME
      San Francisco, CA 94102                 San Jose, CA 95113             Oakland, CA 94612

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Indictment in United States v. Lynch and Chamberlain, Case No. 18-CR-577 CRB, including all such documents that
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 (By) Deputy Clerk


 ATTORNEY’S NAME, ADDRESS AND PHONE NUMBER:
                    Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 23 of 44




CAND 89A (Rev. 8/12) Subpoena to Testify in a Criminal Case


 PROOF OF SERVICE
                     DATE                                          PLACE
 R EC E IV E D
 B Y SE R V ER

                     DATE                                          PLACE
 SE R V E D

 SERVED ON (PRINT NAME)                                             FEES AND MILEAGE TENDERED TO WITNESS

                                                                      YES     NO AMOUNT $

 SERVED BY (PRINT NAME)                                            TITLE




                                                         DECLARATION OF SERVER

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 Executed on
                                        DATE                           SIGNATURE OF SERVER

                                                                      ADDRESS:



ADDITIONAL INFORMATION
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 24 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 25 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 26 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 27 of 44




                 Exhibit E
                     Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 28 of 44
               (Rev. 8/12) Subpoena to Testify in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                            SUBPOENA TO PRODUCE
UNITED STATES OF AMERICA,                                                   DOCUMENTS OR OBJECTS
                                                                            IN A CRIMINAL CASE
                                       Plaintiff,
                                                                     Case No.:
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  MICHAEL RICHARD LYNCH and
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                                       Defendant(s).

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 ATTORNEY’S NAME, ADDRESS AND PHONE NUMBER:
                    Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 29 of 44




CAND 89A (Rev. 8/12) Subpoena to Testify in a Criminal Case


 PROOF OF SERVICE
                     DATE                                          PLACE
 R EC E IV E D
 B Y SE R V ER

                     DATE                                          PLACE
 SE R V E D

 SERVED ON (PRINT NAME)                                             FEES AND MILEAGE TENDERED TO WITNESS

                                                                      YES     NO AMOUNT $

 SERVED BY (PRINT NAME)                                            TITLE




                                                         DECLARATION OF SERVER

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                                                                      ADDRESS:



ADDITIONAL INFORMATION
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 30 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 31 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 32 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 33 of 44




                 Exhibit F
                     Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 34 of 44
               (Rev. 8/12) Subpoena to Testify in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                            SUBPOENA TO PRODUCE
UNITED STATES OF AMERICA,                                                   DOCUMENTS OR OBJECTS
                                                                            IN A CRIMINAL CASE
                                       Plaintiff,
                                                                     Case No.:
         v.
  MICHAEL RICHARD LYNCH and
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                                       Defendant(s).

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 (By) Deputy Clerk


 ATTORNEY’S NAME, ADDRESS AND PHONE NUMBER:
                    Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 35 of 44




CAND 89A (Rev. 8/12) Subpoena to Testify in a Criminal Case


 PROOF OF SERVICE
                     DATE                                          PLACE
 R EC E IV E D
 B Y SE R V ER

                     DATE                                          PLACE
 SE R V E D

 SERVED ON (PRINT NAME)                                             FEES AND MILEAGE TENDERED TO WITNESS

                                                                      YES     NO AMOUNT $

 SERVED BY (PRINT NAME)                                            TITLE




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ADDITIONAL INFORMATION
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 36 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 37 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 38 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 39 of 44




                Exhibit G
                     Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 40 of 44
               (Rev. 8/12) Subpoena to Testify in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                            SUBPOENA TO PRODUCE
UNITED STATES OF AMERICA,                                                   DOCUMENTS OR OBJECTS
                                                                            IN A CRIMINAL CASE
                                       Plaintiff,
                                                                     Case No.:
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 (By) Deputy Clerk


 ATTORNEY’S NAME, ADDRESS AND PHONE NUMBER:
                    Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 41 of 44




CAND 89A (Rev. 8/12) Subpoena to Testify in a Criminal Case


 PROOF OF SERVICE
                     DATE                                          PLACE
 R EC E IV E D
 B Y SE R V ER

                     DATE                                          PLACE
 SE R V E D

 SERVED ON (PRINT NAME)                                             FEES AND MILEAGE TENDERED TO WITNESS

                                                                      YES     NO AMOUNT $

 SERVED BY (PRINT NAME)                                            TITLE




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                                                                      ADDRESS:



ADDITIONAL INFORMATION
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 42 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 43 of 44
Case 3:18-cr-00577-CRB Document 121 Filed 06/07/22 Page 44 of 44
